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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________
 No. 21-1302

                                        UNITED STATES,

                                             Appellee,

                                                 v.

                                      ARTHUR GIANELLI,

                                      Defendant - Appellant.
                                      __________________

                                              Before

                                     Howard, Chief Judge,
                                Lynch and Kayatta, Circuit Judges.
                                     __________________

                                          JUDGMENT

                                    Entered: October 28, 2021

        Defendant appeals from the district court's denial of his request for compassionate release
 pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (permitting a reduction in term of imprisonment for
 "extraordinary and compelling" reasons). After careful review of the record and the parties'
 submissions, we conclude that the district court did not abuse its discretion when it denied the
 motion. See United States v. Saccoccia, 10 F.4th 1 (1st Cir. 2021) (standard of review).
 Accordingly, the government's motion for summary disposition is granted and the district court's
 order of denial without prejudice is affirmed. See 1st Cir. R. 27.0(c).


                                                        By the Court:

                                                        Maria R. Hamilton, Clerk



 cc:
 Arthur Gianelli, Donald Campbell Lockhart, Kristina E. Barclay, Joseph Wheatley, Fred M.
 Wyshak III
